      Case 19-45317         Doc 16       Filed 05/05/22 Entered 05/05/22 14:37:40                  Notice of Final
                                             Opp. to File C Pg 1 of 1

                                    UNITED STATES BANKRUPTCY COURT
                                          Eastern District of Missouri
                                       Thomas F. Eagleton U.S. Courthouse
                                      111 South Tenth Street, Fourth Floor
                                              St. Louis, MO 63102
In re: Donna Jean Bloomfield
       Debtor(s):                                             Case No.: 19−45317 −A659
                                                              CHAPTER 7




                            NOTICE OF FINAL OPPORTUNITY TO FILE CLAIMS



PLEASE TAKE NOTICE that the deadline to file proofs of claims in this case has expired. However, the Chapter 7
Trustee has reported that there are funds remaining after allowance and payment of timely filed claims. As a result,
please take notice that funds may be available to pay tardily filed claims in accordance with Section 726(a)(2)(C) or
Section 726(a)(3) of Title 11 of the United States Code.

To be allowed and considered for payment, a proof of claim must be filed with the Clerk. If a proof of claim has
already been filed, it is not necessary to file again. Only proofs of claims that are filed and allowed will share in the
distribution in this case. Claimants should use the Court's Electronic Proof of Claim Filing system (ePOC) found on
the Court's web site at www.moeb.uscourts.gov to file their proof of claims.




                                  LAST DAY TO FILE PROOFS OF CLAIMS IS
                                                 6/21/22



                                                                                                     FOR THE COURT
                                                                                                     /s/ Dana C. McWay

                                                                                                            Clerk of Court
Dated: 5/5/22
St. Louis, Missouri
Rev. 12/17 fnlpfclm
